






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00724-CR






Darrell Edison, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 147TH JUDICIAL DISTRICT

NOS. D-1-DC-09-206713 &amp; D-1-DC-10-907220,

THE HONORABLE WILFORD FLOWERS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellant Darrell Edison has filed a pro se pleading entitled Motion for Preliminary
Injunction.  Looking to the substance of Edison's pleading, rather than its title or form, we construe
his motion as a notice of appeal, see Surgitek, Bristol-Myers Corp. v. Abel, 997 S.W.2d 598, 601
(Tex. 1999) (courts look to substance of pleading rather than its caption or form to determine its
nature), seeking to appeal the trial court's order ordering him to pay attorney's fees and court costs
in the underlying plea-bargain cases.  It is unclear from his pleading whether Edison is complaining
about the trial court's order of payment contained in the judgments of conviction in the underlying
cases or a separate "notice of withdrawal" sent to the Texas Department of Criminal Justice to
garnish his inmate trust account to recover payment of the attorney's fees and court costs.

		To the extent that Edison seeks to appeal the order contained in the judgments of
conviction, this Court has previously dismissed Edison's attempt to appeal the judgments of
conviction in these cases because the district court certified that these were plea-bargain cases
and&nbsp;Edison had no right of appeal.  See Edison v. State, Nos. 03-10-00804-CR &amp; 03-10-00811-CR,
2011&nbsp;WL 56052, at *1 (Tex. App.--Austin Jan. 7, 2011, no pet.) (mem. op., not designated
for&nbsp;publication).

		To the extent that Edison seeks to appeal a separate notice of withdrawal garnishing
his inmate trust account, we do not find such a notice to be a separately appealable order in the
criminal action.  The right to appeal is conferred by the Legislature, and generally a party may appeal
only those cases for which the Legislature has authorized appeal.  Keaton v. State, 294 S.W.3d 870,
871 (Tex. App.--Beaumont 2009, no pet.); see Marin v. State, 851 S.W.2d 275, 278 (Tex. Crim.
App. 1993), overruled on other grounds by Cain v. State, 947 S.W.2d 262, 264 (Tex. Crim. App.
1997); In re Court of Inquiry, 326 S.W.3d 372, 373 (Tex. App.--Texarkana 2010, no pet.); see also
Olowosuko v. State, 826 S.W.2d 940, 941 (Tex. Crim. App. 1992) ("It is axiomatic that a party may
appeal only that which the Legislature has authorized.").  Article 44.02 of the Texas Code of
Criminal Procedure provides that "[a] defendant in any criminal action has the right of appeal under
the rules hereinafter prescribed . . . ."  Tex. Code Crim. Proc. Ann. art. 44.02 (West 2006); see Tex.
R. App. Proc. 25.2(A)(2) (a defendant "has the right of appeal under Code of Criminal Procedure
article 44.02 and these rules" in every case in which the trial court "enters a judgment of guilt or
other appealable order").  "However, in the absence of a positive legislative enactment, this statutory
right of appeal has generally been 'restricted to persons convicted of offenses and those
denied&nbsp;release under the writ of habeas corpus.'"  Sanchez v. State, 340 S.W.3d 848, 849 (Tex.
App.--San&nbsp;Antonio 2011, no pet.) (quoting Celani v. State, 940 S.W.2d 327, 329 (Tex. App.--San
Antonio 1997, pet. ref'd) and De Silva v. State, 267 S.W. 271, 272 (Tex. Crim. App. 1924)); see
Abbott v. State, 271 S.W.3d 694, 697 n.8 (Tex. Crim. App. 2008) (noting Court's prior recognition
of "long-established rule that a defendant's general right to appeal under Article 44.02 'has always
been limited to appeal' from a 'final judgment'"); McIntosh v. State, 110 S.W.3d 51, 52 (Tex.
App.--Waco 2002, no pet.) (defendant has right to appeal from final judgment of conviction or
when "expressly granted by law") (internal quotes omitted).  We find no authority for Edison to
appeal a notice of withdrawal garnishing his inmate trust account to recover payment for attorney's
fees and court costs in the underlying criminal actions.

		To any extent that Edison's pleading could be read as initiating an original appellate
proceeding seeking extraordinary relief, see Tex. R. App. P. 52, we note that our mandamus
authority also is limited.  In his pleading, Edison seeks to have the "State of Texas" and "Travis
County" cease removing funds from his inmate trust account and to repay the monies already
withdrawn.  By statute, this Court has the authority to issue a writ of mandamus against "a judge of
a district or county court in the court of appeals district" and other writs as necessary to enforce our
appellate jurisdiction.  See Tex. Gov't Code Ann. § 22.221 (West 2004).  The "State of Texas" and
"Travis County" are not parties against whom we may issue a writ of mandamus.  Nor has Edison
demonstrated that the exercise of our writ power is necessary to enforce our jurisdiction.

		For the above reasons, we dismiss this attempted appeal.


						__________________________________________

						Melissa Goodwin, Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Dismissed

Filed:   November 30, 2012

Do Not Publish


